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Financial Affidavit

IN SUPPORT GF REQUEST FOR ATTORNEY, EXPERT OR OTHER COURT SERVICES WITHOUT PAYMENT OF FEE

 

 

 

 

Case Name Case No.

 

Name of Defendant/Person Represented é fic fOeMmoce ah

 

 

 

 

 

 

 

 

 

DIRECTIONS: PLEASE ANSWER ALL OF THE QUESTIONS BELOW AND SIGN AND DATE THIS AFFIDAVIT.

1. Do you currently work? 24 No.... Date you last worked_ fe b DJnol 2°) 1 Monthly income $1.5 BCOD _

 

[J Yes.... Name of employer ae Monthly income $
2. Are you married? Ri No... . Indicate marital status: bSingle [Widowed [] Separated or divorced
(1 Yes .... How much does your spouse earn per month? $ t>

 

3. Are you under age 21? i No
[4 Yes .... What is your parent or guardian’s approximate monthly income? $ )

4. Do you haye any money (in cash or bank accounts)?
[3 No ; ‘
1H Yes... . State total amount $_q@ pe and location(s) (La +e a \ OK

. Please identify form of currency, if not U.S. funds

5. Do you own other valuable property such as a house, real estate, stocks, bonds, notes, or vehicles?
[J No
Ki Yes. ... Describe property and state its value: VARS Clev 4 vi cK a

6, Within the past 12 months have you received any income from any other source such as from self-employment,
business, rent payments, interest, dividends, inheritance, retirement benefits, social security, or disability payments?
[3 No
(i Yes... List amount received and identify gouree™ Lo o."* Re C { opie

7. List the people you financially support and their relationship igyou
Sister Tasha tremoceah
Mece ania Remo eehy,

 

8. List the names of your creditors (people or companies you owe money to). State your monthiy payments and the

total amount you owe: . , ‘
ie. Caman che (ann ty Memo cal 479 OAC

 

 

 

9, I certify under penalty of perjury that all of the information I have provided above is true and correct.

j2fiefig CH frre el

Date Signature of Defendant/Person Represented

 

 

 

FOR COURT USE ONLY
Qualification Partial Qualification No Qualification

Date Judicial Officer’s Initials

 

 

 

 

 

 

 

 

 
